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                              IN THE UNITED STATES BANKRUPTCY COURT
                                   NORTHERN DISTRICT OF ILLINOIS
                                          EASTERN DIVISION


In re: Hilmer J. Lovett                                      )         Case No. 18-14477
                                                             )
                                                             )         Chapter 13
                                                             )
SSN: XXX-XX- 1956                             Debtors        )


                              ORDER TO EMPLOYER TO PAY THE TRUSTEE

To: Harris Equipment
    2040 N Hawthorne Ave.
    Melrose Park, IL 60160

       Attn: Payroll Department

WHEREAS, the above named debtor has                   a plan to pay his/her debts out of his/her future earnings,
and by his/her plan submits all of his/her future earnings to the supervision and control of this Court for the
purpose of carrying out the Plan:

NOW IT IS THEREFORE ORDERED, that until further order of this Court, Harris Equipment                                        ,
employer of Hilmer J. Lovett                    , deduct from the earnings of the debtor the sum of $ 150.00
each month beginning on the next pay day following the receipt of this order and to pay the sum so deducted to ,




IT IS FURTHER ORDERED, that the employer shall stop or change the deduction upon written notice from the
Trustee;

IT IS FURTHER ORDERED, that the employer shall notify the Trustee if the employment of the debtor is
terminated and the reason for such termination;

IT IS FURTHER ORDERED, that all earnings of the debtor, except amounts required to be withheld by the
provisions of Federal or State law or for insurance, pension or union dues, be paid to the debtor and that no
deduction other than authorized or directed by this order be made by the employer.




Date
Entered:
                                                              Jeffrey Allsteadt, Clerk, United States Bankruptcy Court


            Attorney Signature ______________________                               Date:05/23/2018



      Check this box if the debtor has agreed to the entry of this order without further notice or hearing through Section
      I of the Chapter 13 Plan.
